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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                       Plaintiff,                                       8:13CR286

       vs.
                                                              PRELIMINARY ORDER OF
VICENTE DE LAO-OLVERA,                                             FORFEITURE
a/k/a Gordo, and
JOSE PABLO BOJORQUEZ-QUEVEDO,
a/k/a Nitro


                       Defendants.



       This matter comes on before the Court upon the United States= Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 85). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1.    The Defendants have entered into Plea Agreements (Filing No’s. 57 and 78),

whereby they have agreed to enter pleas of guilty to Count I and the Forfeiture Allegation of said

Superseding Indictment.      Count I charged the Defendants with conspiracy to distribute

methamphetamine, in violation of 21 U.S.C. ' 846. The Forfeiture Allegation charged the

Defendants with using the following properties to facilitate the commission of the conspiracy

and/or said properties were derived from proceeds obtained directly or indirectly as a result of the

commission of the conspiracy.

               a.    $150,000.00 in United States currency seized from Jose Pablo
                     Bojorquez-Quevedo, a/k/a Nitro, on August 2, 2013.
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               b.   $4,840.00 in United States currency seized from Vicente De
                    Lao-Olvera, a/k/a Gordo, on August 1, 2013.

               c.   2005 Chrysler 300C, VIN 2C3AA63H75H123033, registered to Petra
                    Vega.

               d.   2013 Ford F150, VIN 1FTFW1ET2DFC34595, registered to
                    Petra Vega.

               e.   2003 Mercedes Benz E320, VIN WDBUF65J13A159806, registered
                    to Hortencia Quintana Olvera.

               f.   2008 Dodge Nitro, VIN 1D8GU28K68W137295, registered to Jose
                    Pablo Bojorquez.

               g.   Jimenez Arms Inc., 9mm handgun, SN 204605.

               h.   .38 caliber HWM revolver, SN 1513594.

               i.   Springfield XD 40 handgun, SN M6126390.

               j.   Romarm, AK-47, SN 1984PF5559.

               k.   Davis .32 caliber handgun, SN 527779.

               l.   One black rifle case.

               m.   Miscellaneous ammunition.

       2.    By virtue of said plea of guilty, the Defendants forfeit their interests in the

properties, and the United States should be entitled to possession of said properties, pursuant to

21 U.S.C. ' 853.

       3.    The United States= Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.




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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States= Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon the Forfeiture Allegation of the Indictment and the Defendants= pleas of

guilty, the United States is hereby authorized to seize the following properties:

               1. $150,000.00 in United States currency seized from Jose Pablo
                  Bojorquez-Quevedo, a/k/a Nitro, on August 2, 2013.

               2.    $4,840.00 in United States currency seized from Vicente De
                     Lao-Olvera, a/k/a Gordo, on August 1, 2013.

               3.    2005 Chrysler 300C, VIN 2C3AA63H75H123033, registered to Petra
                     Vega.

               4.    2013 Ford F150, VIN 1FTFW1ET2DFC34595, registered to
                     Petra Vega.

               5.    2003 Mercedes Benz E320, VIN WDBUF65J13A159806, registered
                     to Hortencia Quintana Olvera.

               6.    2008 Dodge Nitro, VIN 1D8GU28K68W137295, registered to Jose
                     Pablo Bojorquez.

               7.    Jimenez Arms Inc., 9mm handgun, SN 204605.

               8.    .38 caliber HWM revolver, SN 1513594.

               9.    Springfield XD 40 handgun, SN M6126390.

               10.   Romarm, AK-47, SN 1984PF5559.

               11.   Davis .32 caliber handgun, SN 527779.

               12.   One black rifle case.

               13.   Miscellaneous ammunition.




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        C. The Defendants= interests in the aforementioned properties are hereby forfeited to the

United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

' 853(n)(1).

        D. The aforementioned properties are to be held by the United States in its secure custody

and control.

        E. Pursuant to 21 U.S.C. ' 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site, www.forfeiture.gov,

notice of this Order, Notice of Publication evidencing the United States= intent to dispose of the

properties in such manner as the Attorney General may direct, and notice that any person, other

than the Defendants, having or claiming a legal interest in any of the subject properties must file a

Petition with the court within thirty days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s interest in the properties, shall be signed

by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner=s right, title or interest in the subject properties and any additional facts supporting the

Petitioner=s claim and the relief sought.

        G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have an interest in the properties subject to this Order as a substitute for

published notice as to those persons so notified.




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       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.

       ORDERED this 23rd day of May, 2014.


                                                     BY THE COURT:



                                                      s/ Joseph F. Bataillon
                                                     United States District Court




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